           Case: 24-1149 Document:
Case 2:23-cr-20152-MAG-EAS ECF No. 9-1   Filed: 04/02/2024
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                                                      Filed 04/02/24                                (1 of 2)




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov

                                                  Filed: April 02, 2024
Mr. Henry Edward Moon III
Office of the U.S. Attorney
211 W. Fort Street
Suite 2001
Detroit, MI 48226

Mr. Jean Pierre Nogues III
Federal Community Defender Office
for the Eastern District of Michigan
613 Abbott Street
Suite 500
Detroit, MI 48226

                      Re: Case No. 24-1149, USA v. Jack Carpenter, III
                          Originating Case No. : 2:23-cr-20152-1

Dear Counsel,



   The Court issued the enclosed Order today in this case. Judgment to follow.

                                                  Sincerely yours,

                                                  s/Robin L Baker
                                                  Case Manager
                                                  Direct Dial No. 513-564-7014

cc: Ms. Kinikia D. Essix

Enclosure

No mandate to issue
                                              Case: 24-1149 Document:
                                   Case 2:23-cr-20152-MAG-EAS ECF No. 9-2   Filed: 04/02/2024
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                                                                            No. 24-1149

                                                                UNITED STATES COURT OF APPEALS
                                                                     FOR THE SIXTH CIRCUIT


                                   UNITED STATES OF AMERICA,                              )
                                                                                          )
                                          Plaintiff-Appellee,                             )
                                                                                          )
                                   v.                                                     )                ORDER
                                                                                          )
                                   JACK EUGENE CARPENTER, III,                            )
                                                                                          )
                                          Defendant-Appellant.                            )


                                          Before: SURHEINRICH, MOORE, and GILMAN, Circuit Judges.

                                          Defendant Jack Eugene Carpenter, III, appeals three recent pro se motions challenging the

                                   district court’s jurisdiction and arguing that the district court had allowed the prosecution to

                                   proceed without assessing Carpenter’s earlier jurisdictional challenges.     Subject to limited

                                   exceptions that are not applicable here, this court reviews only final judgments. Midland Asphalt

                                   Corp. v. United States, 489 U.S. 794, 798−99 (1989). In the absence of a final judgment, we lack

                                   jurisdiction over this appeal.

                                          Accordingly, this appeal is DISMISSED sua sponte.

                                                                               ENTERED BY ORDER OF THE COURT




                                                                               Kelly L. Stephens, Clerk




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